
In re Jones, Richard; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “G”, No. 253-412; to the Court of Appeal, Fourth Circuit, No. 97KW-0398.
*143Writ granted in part; denied in part. The court of appeal lacked jurisdiction to grant the state’s writ. La. Const, art. V, Sec. 5(E). Its judgment is therefore void. However, the district court likewise lacked jurisdiction to entertain relator’s motion for a new trial, and its judgment is also void. La.C.Cr.P. art. 916. In all other respects the application is denied.
JOHNSON, J., not on panel.
